









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
January 27, 2005









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed January 27, 2005.

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01222-CV

____________

&nbsp;

IN RE RODNEY POULLARD, JR., Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On December 27, 2004, relator
filed a petition for writ of mandamus in this court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52.&nbsp; In his petition, relator
seeks to have this court compel the judge of the 21st District Court in
Burleson County to rule on a Awrit of error@ relator allegedly filed on July
22, 2004. 

Relator has not established that he is
entitled to mandamus relief.&nbsp;
Accordingly, we deny relator=s petition for writ of mandamus. 

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed January 27, 2004.

Panel consists of
Justices Anderson, Hudson, and Frost.





